

Morris-Perry v Morris-Perry (2024 NY Slip Op 02372)





Morris-Perry v Morris-Perry


2024 NY Slip Op 02372


Decided on May 02, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 02, 2024

Before: Webber, J.P., Oing, Rodriguez, Higgitt, Michael, JJ. 


Index No. 301256/22 Appeal No. 2206 Case No. 2023-04737 

[*1]Shanta Morris-Perry, Plaintiff-Respondent,
vChristopher Morris-Perry, Defendant-Appellant.


Larry S. Bachner, New York, for appellant.
Daniel X. Robinson, New York, for respondent.



Order, Supreme Court, New York County (Kelly O'Neill Levy, J.), entered August 22, 2023, which granted plaintiff wife's motion for temporary exclusive use and occupancy of the marital residence pursuant to Domestic Relations Law § 234, unanimously affirmed, without costs.
Under the circumstances presented, we perceive no reason to disturb Supreme Court's discretionary award of exclusive possession of the marital residence, pendente lite, to the wife (see generally Kenner v Kenner, 13 AD3d 52, 53 [1st Dept 2004]). There is an unquestioned history of protective orders issued for the wife's and children's benefit as against defendant husband, most recently emanating from the criminal court following the husband's arrest at the home. Personal safety is implicated if supported by orders of protection or evidence of police involvement (see e.g. Blumenfeld v Blumenfeld, 96 AD2d 895, 895 [2d Dept 1983]; Minnus v Minnus, 63 AD2d 966, 966 [2d Dept 1978]). Moreover, the resulting level of domestic strife further underpins the court's order to ensure the personal safety of the parties (see Iuliano v Iuliano, 30 AD3d 737, 737-738 [3d Dept 2006]; Grogg v Grogg, 152 AD2d 802, 803 [3d Dept 1989]).
We have considered the husband's remaining arguments and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 2, 2024








